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October 16, 2020

Via ECF

The Honorable Stewart D. Aaron
United States Magistrate Judge
Daniel Patrick Moynihan United States Courthouse                                10/17/2020
500 Pearl Street
New York, NY 10007

Re:    SM Kids, LLC v. Google LLC, et al., Case No. 18 Civ. 2637 (LGS) (SDA)

Dear Judge Aaron:

This firm is counsel to Plaintiff SM Kids, LLC (“SM Kids”). We write to advise the Court that SM
Kids will not move to compel interrogatory responses from Defendants at this time. The briefing
schedule set forth in the Court’s Amended Order of October 16, 2020 (Dkt. 118) is therefore moot
and SM Kids respectfully requests that the Court cancel the telephonic oral argument on the motion
currently scheduled for October 28, 2020. SM Kids reserves all rights, including the right to move
to compel discovery responses from Defendants in the future.

We are grateful for the Court’s attention to this matter.

Respectfully submitted,                      Request GRANTED. The 10/28/2020 telephonic oral argument is
                                             canceled. SO ORDERED.
Davis Wright Tremaine LLP                    Dated: 10/17/2020



John M. Magliery
Attorneys for Plaintiff SM Kids, LLC


cc:    All counsel of record (via ECF)
